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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                          Crim. No. 08-322 (DSD/SRN)

              Plaintiff,

       v.                                                 ORDER

Antonio Ortiz Shinaul (03),

              Defendant.


       Andrew Winter, United States Attorney’s Office, 600 United States Courthouse, 300
South Fourth Street, Minneapolis, Minnesota 55415, for Plaintiff United States of America

      Craig E. Cascarano, Cascarano Law Office, 150 South Fifth Street, Suite 3260,
Minneapolis, Minnesota 55402, for Defendant Antonio Ortiz Shinaul
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       The above-entitled matter comes before the Court on the Report and Recommendation of

United States Magistrate Judge Susan Richard Nelson. No objections have been filed to that

Report and Recommendation in the time period permitted. Accordingly, based on all of the files,

records, and proceedings herein, IT IS HEREBY ORDERED that:

       1.     Defendant Antonio Ortiz Shinaul’s Motion to Suppress Evidence Obtained

              Through Search (Doc. No. 39) is DENIED; and

       2.     Defendant Antonio Ortiz Shinaul’s Motion to Suppress Search and Seizure

              Evidence (Doc. No. 42) is DENIED.


Dated: December 3, 2008
                                                   s/David S. Doty
                                                   DAVID S. DOTY
                                                   United States District Judge
